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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                              ALEXANDRIA DIVISION


 AIDA ELZAGALLY, et al.,             :
                                     :
       Plaintiffs,                   : Civil Action No.: 1:19-cv-853
                                     :
                   v.                :
                                     :
 KHALIFA HIFTER,                     :
                                     :
       Defendant.                    :
                                     :
 MUNA AL-SUYID, et al.,              : Civil Action No.: 1:20-cv-170
                                     :
       Plaintiffs,                   :
                                     :
                   v.                :
                                     :
 KHALIFA HIFTER                      :
                                     :
       Defendant.                    :
                                     :
 ALI ABDULLAH HAMZA, et al.          : Civil Action No.: 1:20-cv-1038
                                     :
       Plaintiffs,                   :
                                     : (CASES CONSOLIDATED FOR
                   v.                : PURPOSES OF DISCOVERY)
                                     :
 KHALIFA HIFTER,                     :
                                     :
       Defendant.                    :
 ____________________________________:

                                   NOTICE OF HEARING

        PLEASE TAKE NOTICE that on November 17, 2023, or as soon thereafter as counsel

 may be heard in front of United States Magistrate Judge John F. Anderson, Defendant Khalifa

 Hifter will present argument on his Motion to Modify the Scheduling Order.
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 Dated: October 20, 2023                      Respectfully submitted,

                                              KHALIFA HIFTER

                                              By Counsel


                                              /s/ Robert H. Cox
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                                 CERTIFICATE OF SERVICE

        I certify that on October 20, 2023, a copy of the foregoing was filed with the Clerk of the
 Court using the Court’s CM/ECF system, which will send a copy to all counsel of record.


                                              /s/ Robert H. Cox
                                              Robert H. Cox (VSB No. 33118)
